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          7      Proposed Counsel for CAPITAL FARMS, INC.
                  Debtor in Possession
          8
                                         UNITED STATES BANKRUPTCY COURT
          9
                               EASTERN DISTRICT OF CALIFORNIA - FRESNO DIVISION
        10
                 In re:                                         Case No. 25-10074-A-12
        11
                                                                Chapter 12
        12
                 CAPITAL FARMS, INC.,                           D.C. No. FW-2
        13
                                                                Cont’d Preliminary Hearing
        14                                                      Date: January 22, 2025
                                                                Time: 9:30 a.m.
        15                Debtor and Debtor-in-Possession.      Place: Dept. A, Courtroom 11, 5th Floor
                                                                       United States Courthouse
        16                                                             2500 Tulare St., Fresno, California
                                                                Judge: Hon. Jennifer E. Niemann
        17
                          ORDER GRANTING EMERGENCY USE OF CASH COLLATERAL AND
        18                                CONTINUING HEARING

        19                A preliminary hearing on the Motion (the “Motion”) by CAPITAL FARMS, INC.,

        20       Debtor and Debtor in Possession herein (“Debtor”) was held at the above-captioned dated,

        21       time, and place. Peter L. Fear appeared for the Debtor in Possession. Dirk B. Paloutzian

        22       appeared for Secured Creditor Rabo Agrifinance LLC (“Rabo”). Michael J. Gomez appeared

        23       for Secured Creditor Tech Ag Financial Group, Inc. (“Tech Ag”). Hagop T. Bedoyan appeared

        24       for Sutter Land, LLC (“Sutter Land”). Lilian Tsang, Chapter 12 Trustee appeared. Other
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          1      appearances were as noted on the record. The Court has reviewed the Motion and its supporting

          2      documents, the Opposition and evidence in opposition to the Motion, and the Reply to the

          3      Opposition. In addition, the Court has been advised by the parties that they are in the process

          4      of negotiating a resolution to this Motion and several other issues in this case that might involve

          5      the installation of a Bankruptcy Court-supervised and employed third party, but that additional

          6      time is needed to finalize these negotiations and present them to the Court for approval. In the

          7      meantime, all parties have agreed, without waiving any rights, remedies or arguments

          8      regarding the pending cash collateral motion, that it is essential that the Debtor’s property be

          9      cared for while this resolution is being finalized. In light of the foregoing, the Court finds good

        10       cause to authorize preliminary use of cash collateral as detailed below.

        11               NOW THEREFORE, it is hereby ORDERED,

        12               1.      Debtor is authorized to use cash collateral on a preliminary, emergency basis in

        13       the amounts shown on Exhibit A (the “Budget”) for the time period of January 22, 2025 to

        14       February 12, 2025 (the “Interim Period”), subject to a variance of no more than ten percent

        15       (10%). The budget shall not include payment of any wages of insiders. For any lease payments

        16       owed by Debtor to Sutter Land during the Interim Period, Debtor shall pay the lease payment

        17       to Sutter Land’s mortgage holder directly.

        18               2.      All creditors with a security interest in the cash collateral being used are hereby

        19       granted automatically-perfected replacement liens on, and security interests in, all of the

        20       respective Debtors’ tangible and intangible prepetition and postpetition property (retroactive as

        21       of the petition date) with the same validity, priority, and extent that such creditors had in such

        22       prepetition collateral as of the petition date, without the need to file or record financing

        23       statements, notices of lien, or similar instruments or to take any other action in order to validate

        24       and perfect these replacement liens and security interests.


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          1              3.     Debtor shall deposit any cash collateral it receives into its bank account at

          2      Citizens Business Bank (ending in 3506) (the “CBB Account”).

          3              4.     Each Thursday, beginning January 30, 2025, Debtor shall file (1) a weekly

          4      budget variance report through the day prior (Wednesday), and (2) a printout from the CBB

          5      Account showing all transactions into and out of the account during the preceding week.

          6              5.     A further hearing on use of cash collateral will be held on February 12, 2025,
                     >
          7      at 9:30 a.m. Debtor shall file and serve an updated budget no later than February 5, 2025.

          8      APPROVED AS TO FORM:

          9      ________________________________
                 Dirk Paloutzian, Attorney for
        10        Rabo Agrifinance LLC

        11       ________________________________
                 Michael J. Gomez, Attorney for
        12        Tech Ag Financial Group, Inc.

        13       ________________________________
                 Lilian G. Tsang, Chapter 12 Trustee
        14
                 ________________________________
        15       Hagop T. Bedoyan, Attorney for
                  Sutter Land, LLC
        16

        17

        18
                 Dated: ____________________                          _________________________________
        19                                                            United States Bankruptcy Judge

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                                              CASH COLLATERAL ORDER - 3
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                 January 24 2025
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                                            Capital Farms Inc
                                          Cash Collateral Budget
                                                   3 Week budget

                                          Jan 23 - Jan29 Jan 30 - Feb 5 Feb 6 - Feb 12
                                               Week 1              Week 2              Week 3            Totals
       Income
         Crop - Almonds                         749,055.09                  0.00                0.00      749,055.09
         Crop - Almonds
         Harvesting (outside)                                                                                     0.00
         Management Fees                                0.00                0.00                0.00              0.00
       Total Income                        $    749,055.09     $            0.00   $            0.00 $    749,055.09
       Expenses
         Advertising & Marketing                        0.00                0.00                0.00              0.00
         Bank Charges & Fees                            0.00                0.00                0.00              0.00
         Bees - Brewer                           46,250.00                  0.00                0.00       46,250.00
         Bees - Senky                            22,200.00                  0.00                0.00       22,200.00
         Bees - Senky                            12,950.00                  0.00                0.00       12,950.00
         Bees - Brawley                          41,625.00                  0.00                0.00       41,625.00
         Bees - Jamison                          37,000.00                  0.00                0.00       37,000.00
         Bees - Natomas                           5,550.00                  0.00                0.00        5,550.00
         Car & Truck                                    0.00                0.00                0.00              0.00
         Car & Truck - Fuel                        500.00              500.00               500.00          1,500.00
         Equipment payment                              0.00                0.00                0.00              0.00
         Chemicals/Fertilizer                           0.00                0.00                0.00              0.00
         Contractors                                    0.00                0.00          3,564.00          3,564.00
         Crop Insurance                                 0.00                0.00                0.00              0.00
         DMV Fees                                       0.00                0.00                0.00              0.00
         Dues & subscriptions                           0.00                0.00                0.00              0.00
        Diesel & Fuel                             1,000.00            1,000.00            1,000.00          3,000.00
         Harvesting                                     0.00                0.00                0.00              0.00
         Insurance                                2,500.00                  0.00                0.00        2,500.00
        Insurance - WC                            2,000.00                  0.00                0.00        2,000.00
         Irrigation Supplies                            0.00                0.00                0.00              0.00
         Lease Payments - Brewer                131,054.88                  0.00                0.00      131,054.88
         Lease Payments - Baseline Rd -
       157 acres                                 80,756.08                  0.00                0.00       80,756.08
        Lease - Sankey                                  0.00                0.00                0.00              0.00
        Lease - Brawley                         130,067.15                  0.00                0.00      130,067.15
        Lease - Brawley (dev voan 2)              7,467.56            7,467.56                  0.00       14,935.12
       Lease - Brawley (dev loan 1)              11,311.74                  0.00                0.00       11,311.74
        Lease - Jamison                           7,500.00            7,500.00                  0.00       15,000.00
        Lease - Natomas                          19,500.00           19,500.00                  0.00       39,000.00

        Leasehold Imp- Brewer (Rabo)                    0.00                0.00                0.00              0.00

         Legal & Professional Services                  0.00                0.00                0.00              0.00
         Office Supplies & Software                     0.00                0.00                0.00              0.00



                                                                                                                   Exhibit A, Page 1 of 2
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                                               Capital Farms Inc
                                             Cash Collateral Budget
                                                      3 Week budget

                                             Jan 23 - Jan29 Jan 30 - Feb 5 Feb 6 - Feb 12
                                                  Week 1               Week 2               Week 3           Totals
         Parts & Supply                               375.00               375.00                375.00         1,125.00
         Payroll Expenses                                  0.00           4,356.00                    0.00      4,356.00
         Payroll - Harvesting                              0.00                 0.00                  0.00            0.00
         Payroll Tax Expenses                              0.00            435.60                     0.00       435.60
         PCA Fees                                          0.00                 0.00                  0.00            0.00
         Property Taxes - Baseline                         0.00                 0.00                  0.00            0.00
         Property Taxes - Senky                            0.00                 0.00                  0.00            0.00
         Property Taxes - Brewer                    11,560.67                   0.00                  0.00     11,560.67
         Property Taxes - Natomas                          0.00                 0.00                  0.00            0.00
         Property Taxes - Natomas                          0.00                 0.00                  0.00            0.00
         Property taxes - Brawly                           0.00                 0.00                  0.00            0.00
         Property taxes - Jamison                          0.00                 0.00                  0.00            0.00
         Repairs & Maintenance                             0.00                 0.00                  0.00            0.00
         Repairs & Maintenance                             0.00                 0.00             375.00          375.00
         Taxes & Licenses                                  0.00                 0.00                  0.00            0.00
         Utilities - Baseline                           46.00                   0.00                 46.00        92.00

         Utilities - Baseline (Jackson rd)           2,158.00                   0.00                  0.00      2,158.00
         Utilities - Senky                                 0.00                 0.00                  0.00            0.00
         Utilities - Brewer                          6,074.00                   0.00                  0.00      6,074.00
         Utilities - Natomas                         2,207.00                   0.00                  0.00      2,207.00
         Utilities - Brawly                          8,674.00                   0.00                  0.00      8,674.00
         Utilities - Jamison                         8,484.00                   0.00                  0.00      8,484.00
         Water Coalition Permit Fees                  387.50               387.50                     0.00       775.00
         Yard Rental                                       0.00                 0.00                  0.00            0.00
       Total Expenses                         $    599,198.58     $      41,521.66 $            5,860.00 $    646,580.24
       Accumulated Expenses                                       $     640,720.24 $          646,580.24 $    646,580.24


       Cash Flow Requirements                 $    149,856.51     -$     41,521.66     -$       5,860.00 $    102,474.85




                                                                                                                       Exhibit A, Page 2 of 2
